                                      Exhibit 6H
                             May 28, 2014 Hearing Transcript




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                              UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

          IN RE:    CITY OF DETROIT,    .                  Docket No. 13-53846
                    MICHIGAN,           .
                                        .                  Detroit, Michigan
                                        .                  May 28, 2014
                         Debtor.        .                  10:01 a.m.
          . . . . . . . . . . . . . . . .

                    HEARING RE. (#4508) ORDER REGARDING HEARING ON
                   OUTSTANDING OBJECTIONS TO WRITTEN DISCOVERY (RE:
                      RELATED DOCUMENT(S) 4202 ORDER ESTABLISHING
                 PROCEDURES, DEADLINES AND HEARING DATES RELATING TO
               THE DEBTOR'S PLAN OF ADJUSTMENT); (#3929) MOTION OF THE
                  CITY OF DETROIT WATER & SEWERAGE DEPARTMENT FOR AN
                 ORDER AMENDING AND CLARIFYING FEE REVIEW ORDER FILED
                     BY INTERESTED PARTY CITY OF DETROIT WATER AND
               SEWERAGE DEPARTMENT; (#5011) LETTER FILED BY STEPHEN D.
                LERNER, COUNSEL TO THE COURT-APPOINTED EXPERT; (#4202)
                   STATUS CONFERENCE REGARDING CONFIRMATION PROCESS
                         BEFORE THE HONORABLE STEVEN W. RHODES
                          UNITED STATES BANKRUPTCY COURT JUDGE

          APPEARANCES:

          For the Debtor:           Jones Day
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     1    impacted, and the extent to which they could sustain the

     2    changes to them because of the fact that they're cutting

     3    deals.    I don't know.       But it puts us in an impossible

     4    position when they use their prior decisions to say, "Well,

     5    we really shouldn't have to do anything more because we got

     6    to keep the trial date, and we don't want to move the

     7    schedule."

     8               THE COURT:      Well, it's a close question, but I must

     9    side with Mr. Hackney here that the additional production
   10     through the second plan should have been provided here, and
   11     the Court will request that and order that.

   12                 MR. HACKNEY:      Your Honor, points three and four I'll

   13     be very brief.       I think point four was that we'd actually ask
   14     there to be an order that they get us our interrogatories by

   15     Friday so that we can have a date certain.               It sounds like

   16     Mr. Irwin is going to do that anyway.              Point three is an
   17     important one for --

   18                 THE COURT:     I'll agree with that.         You may submit an
   19     order.

   20                 MR. HACKNEY:      Your Honor, point three is an
   21     important one given our colloquy earlier.               I'd like you to
   22     consider it.       The Hale affidavit says that they are
   23     construing the mediation privilege broadly.                You can also
   24     imagine nuanced questions about who is covered by the
   25     mediation privilege, the most obvious of which being that the




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     1    charitable foundations weren't actually creditors in the case

     2    at the time they were invoked, so there are questions about

     3    the scope of the privilege, questions about the application

     4    of it by the city.        It is my view that the city should log

     5    documents that they're withholding on the basis of this

     6    mediation privilege for two reasons.              Number one, it may be

     7    something -- this is definitely a log where you can see

     8    looking at it and saying, wait a second, that's from a time

     9    period before the mediation order, wait a second, that's not
   10     a person involved the mediation, point one, but point two, I
   11     think that you're going to want to have this log whether it's

   12     for in camera review or for issues that come up down the road

   13     at trial.     And so my suggestion is one that I'm sure the city
   14     is gritting its teeth over, but this is one of those things

   15     that I think if they start doing now we're all going to be

   16     very glad that it exists when the trial comes along because
   17     if we hit one of these issues and it's not all prepared, that

   18     could be a real delay.
   19                 MR. IRWIN:     Your Honor, the issue of privilege logs

   20     I think was one that we discussed with multiple parties at
   21     the outset of discovery.            I don't understand what purpose is
   22     served to see if the city executed on its understanding of
   23     the mediation order.         It is yet another potentially --
   24                 THE COURT:     Yeah.      I agree that the burden involved
   25     in this is much greater than any potential value of it, so I




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     1    will not order this.

     2               MR. HACKNEY:        Your Honor, if I could briefly speak

     3    to the schedule and then sit down, I think that our argument

     4    is pretty simple, which is we have proposed in the fifth

     5    amended scheduling order -- the proposed fifth amended

     6    scheduling order something that I think is unremarkable and

     7    also fair and sort of charitable to the situation that we, as

     8    creditors, find ourselves in, which is we've proposed to move

     9    fact discovery cutoff and all the associated dates back three
   10     weeks from June 27 to July 18.             Okay.    That is 22 days, I
   11     should say, to be precise.

   12                 Now, I woke up at four in the morning again today.

   13     I always know that you want to know what time I wake up.                       But
   14     I think part of the reason that I was -- I don't understand

   15     why it's so controversial where the city is four weeks, five

   16     weeks behind in its written discovery, you know, obligations.
   17     The order said comply with written discovery by May 6.                    Here

   18     we are almost into early June.             I don't have interrogatory
   19     responses.     We're talking about important people that have

   20     not been searched.         We're talking about date limitations that
   21     don't make sense.         For me to come back and for the DTEC and
   22     the other members of the creditors to come back and say,
   23     "We're going to take the city's efforts to remedy this in
   24     good faith.        We see what Mr. Irwin is trying to do here.
   25     We'll only move the schedule three weeks," to me seems like




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     1    the height of reasonableness, point one.               Point two, your

     2    Honor, it still allows for a trial schedule that I think gets

     3    the trial done before September 30.              So to the extent that

     4    Mayor Duggan is going to fire Kevyn Orr and fire Jones Day as

     5    soon as he possibly can, which I think was reported in the

     6    press and in some respects I think raised sort of larger and

     7    more troubling questions about why that would be the case --

     8               THE COURT:      Well, let's pause here.          Has that issue

     9    been resolved?
   10                 MR. SHUMAKER:      It has not, your Honor.          There's been
   11     no final answer in that regard.

   12                 MR. HACKNEY:      Respectfully, your Honor, I don't

   13     think that Mayor Duggan gets to -- he has his powers, but I'm
   14     not sure that he gets to effectively dictate to you when you

   15     have to have a trial by.            And I also want to note that you

   16     see a number of warning signs blinking.
   17                 THE COURT:     Well, I just want to say for the record

   18     that it would be a really bad idea for the city, the mayor,
   19     to terminate Jones Day's services at such a critical phase in

   20     this process.      I don't exactly know where we will be on
   21     September 30th or in the few days before or after that, but
   22     whatever phase it is, it will be a critical phase because
   23     we'll either be in the process of negotiating and drafting a
   24     confirmation order or an order of dismissal and dealing with
   25     the consequences of that, or we'll be dealing with how to get




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